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                                EMPLOYMENT AGREEMENT

        THIS EMPLOYMENT AGREEMENT (“Agreement”) is made and entered into this 23rd
day of November 2022, to be effective as of the date of execution by the Parties with an
employment commencement date as of January 3, 2023 (the “Effective Date”), by and between
BEST FOOT FORWARD CORP., a Missouri corporation (“Corporation”) and DOUGLAS
BASSO, DPM (“Physician”). Together, PHYSICIAN and CORPORATION may be referred to
herein as the “Parties”.

                                          WITNESSETH

       WHEREAS, CORPORATION operates a podiatric practices located at 1455 US Highway
61 South, Suite A, Festus, MO, 63028; 8790 Watson Road, Suite 103, Crestwood, MO, 63119;
and, 123 Rottingham Court, Edwardsville, IL, 62025 (the “Offices”) and CORPORATION desires
to employ PHYSICIAN on a full-time basis to provide professional podiatric medical services (the
“Services”) on behalf of CORPORATION at the Offices and at South City Hospital, and SSM St.
Mary’s Hospital (each a “Hospital” and collectively the “Hospitals”); and

        WHEREAS PHYSICIAN is duly licensed to practice podiatric medicine in the State of
Illinois and the State of Missouri and desires to provide the Services at the Office and at the
Hospitals.

        NOW, THEREFORE, in consideration of the mutual covenants contained herein, the
sufficiency of which is hereby acknowledged, the parties agree as follows:

       1.       EMPLOYMENT. Effective January 3, 2023, CORPORATION hereby employs
PHYSICIAN to devote PHYSICIAN’s full-time best efforts and loyalty to practice podiatric
medicine and provide the Services at the Office, the Hospitals, or at such other office or location(s)
as determined by CORPORATION. PHYSICIAN shall not render any professional podiatric
medical services for any person, corporation, or entity other than CORPORATION, without the
prior written consent of CORPORATION.

        2.      PHYSICIAN OBLIGATIONS. At all times while this Agreement is in effect on
and after the Effective Date, PHYSICIAN shall perform and/or meet the following obligations and
requirements:

               a.      PHYSICIAN shall: (i) hold an unrestricted license to practice podiatric
                       medicine and prescribe medication (including controlled substances) in the
                       State of Illinois and the State of Missouri; (ii) hold unrestricted clinical
                       privileges at the Hospitals and such other facilities or entities as determined
                       by CORPORATION that CORPORATION requires of its other Physicians
                       from time to time; and (iii) maintain a valid and unrestricted license to
                       practice podiatric medicine in each state in which he practices, including
                       but not limited to Missouri and Illinois.

               b.      PHYSICIAN shall comply with and perform all Services under this
                       Agreement in accordance with: (i) the prevailing professional standards at
                       the time such Services are rendered and the currently accepted methods and


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                 practices of the Illinois Department of Financial and Professional
                 Regulation and the Missouri Division of Professional Regulation; (ii) the
                 performance measures established from time to time by CORPORATION,
                 which standards apply to all similarly situated podiatrists or physicians
                 employed by or under contract with CORPORATION (collectively,
                 “Physicians”); (iii) CORPORATION’s bylaws, policies, and procedures,
                 including but not limited to the CORPORATION’s Code of Conduct; (iv)
                 the Medical Staff bylaws, rules, regulations, policies and procedures of the
                 Hospitals; and (v) the ethical standards of the American Podiatric Medical
                 Association. Neither party shall engage in any conduct which jeopardizes
                 the health or safety of CORPORATION’s patients.

           c.    PHYSICIAN shall at all times be and remain a provider in good standing
                 with Federal and State Reimbursement Programs. PHYSICIAN shall notify
                 CORPORATION within five (5) days of the date that he becomes aware of
                 any investigation or proceeding against PHYSICIAN which could result in
                 PHYSICIAN’s exclusion from such programs, and PHYSICIAN
                 immediately will notify CORPORATION in the event of such suspension
                 or exclusion.

           d.    PHYSICIAN shall participate and execute such agreements as are requested
                 by CORPORATION to participate in the Medicare and state Medicaid
                 programs (including participating status), and other third party or direct
                 payor programs approved by CORPORATION, including without
                 limitation, CORPORATION-approved HMOs, PPOs, EPOs, PHOs and
                 other managed care programs. PHYSICIAN shall take all necessary action
                 as directed by CORPORATION to meet eligibility and credentialing criteria
                 of such programs.

           e.    PHYSICIAN shall work with the other Physicians providing Services to
                 facilitate continuity of patient care and promote a harmonious work
                 environment conducive to the provision of quality health care. PHYSICIAN
                 agrees that the President of CORPORATION, or his designee, shall be the
                 CORPORATION’s liaison to the various Hospital administrative staffs for
                 all non-quality of care issues involving CORPORATION. Assignment of
                 regular on call responsibilities will include prior written agreement signed
                 by both Parties. No regularly scheduled face to face patient care
                 obligations on Saturday or Sunday.

           f.    PHYSICIAN shall prepare on a timely basis and maintain complete and
                 accurate medical and other records with respect to the services and
                 treatment rendered to any patient pursuant to this Agreement. PHYSICIAN
                 shall complete all records in accordance with the standards established by
                 CORPORATION. The ownership and right of control of all reports,
                 records, medical records and supporting documents, including billing
                 records, prepared in connection with the professional medical services
                 provided by PHYSICIAN hereunder (collectively, “Records”) shall rest

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                    exclusively in CORPORATION. Upon the expiration or termination of this
                    Agreement for any reason, PHYSICIAN shall promptly deliver to
                    CORPORATION all such Records. CORPORATION shall grant
                    PHYSICIAN reasonable access to the Records during business hours for
                    any ongoing medical purposes and/or in order to defend against any
                    professional liability claims or disciplinary actions. In the event
                    PHYSICIAN requests a copy of any of the records, then PHYSICIAN shall
                    be obligated to reimburse CORPORATION its actual costs to provide such
                    requested copies. Upon the termination or expiration of this Agreement for
                    any reason, any patient notification that CORPORATION may be legally
                    obligated to send to patients whose treating physician is PHYSICIAN will
                    be drafted by and with the mutual consent of CORPORATION and
                    PHYSICIAN, and all reasonable costs incurred (other than attorney’s fees)
                    to prepare and mail such notifications shall be allocated in equal shares to
                    and paid by CORPORATION and PHYSICIAN. The provisions of this
                    Section 2(f) shall survive the expiration or termination of this Agreement
                    for any reason.

             g.     PHYSICIAN shall: (i) provide Services as required by CORPORATION
                    and provide a reasonable amount of charity care, public aid and self-pay in
                    a manner and at times as is reasonably determined by CORPORATION,
                    provided that such Services are performed in substantially equal proportion
                    among all of the physicians employed by CORPORATION; (ii) participate
                    and represent CORPORATION in marketing, community service activities,
                    speaker’s bureau and outreach program; (iii) participate on
                    CORPORATION committees, including committees comprised of other
                    employed Physicians and/or podiatric or medical staff committees; and (iv)
                    cooperate with, and participate in, quality audits, outcome studies, patient
                    surveys and other similar mechanisms conducted by CORPORATION to
                    measure the performance of PHYSICIAN hereunder as well as cooperate
                    with CORPORATION in its development of quality measures against
                    which CORPORATION may compare audit, study and survey results.

             h.     PHYSICIAN shall not be employed by or perform professional services for
                    any entity without CORPORATION’s prior written permission.

             i.     PHYSICIAN represents that he is not, and will not become, a party to any
                    agreement that would or will be breached by the execution and performance
                    of this Agreement.

       3.      PHYSICIAN’S OFFICE. When PHYSICIAN is providing Services at the Office,
CORPORATION shall provide office space, personnel, equipment, furnishings, fixtures and
supplies as CORPORATION reasonably determines necessary for the proper operation and
conduct of a physician practicing within PHYSICIAN’s specialty.




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     4.    BILLING AND COLLECTION.

           a.    PHYSICIAN acknowledges and agrees that all fees, income, revenue or
                 other compensation received, realized or derived by CORPORATION or
                 PHYSICIAN which are attributable to the performance by PHYSICIAN of
                 the Services while he is employed by CORPORATION are and shall be the
                 sole and exclusive property of CORPORATION, including but not limited
                 to fees, income, revenue or other compensation received by
                 CORPORATION after termination of this Agreement for services
                 performed by PHYSICIAN during this Agreement.

           b.    PHYSICIAN acknowledges and agrees that CORPORATION will bill and
                 collect, or will arrange for the billing and collection of, all fees attributable
                 to the performance by PHYSICIAN of podiatric and other professional
                 services while he is employed by CORPORATION and that PHYSICIAN
                 shall not bill or collect from any patient or third party payor any amount for
                 services rendered by him hereunder. PHYSICIAN irrevocably assigns to
                 CORPORATION all of PHYSICIAN’s rights to receive payment for
                 podiatric medical and other professional services provided by PHYSICIAN
                 hereunder. PHYSICIAN agrees to execute any and all documents and take
                 any other actions deemed necessary or desirable by CORPORATION to
                 carry out the provisions of this Section.

           c.    PHYSICIAN acknowledges and agrees that CORPORATION or an entity
                 with whom CORPORATION contracts will bill and collect all fees
                 attributable to the performance by PHYSICIAN of podiatric medical and
                 other professional services while PHYSICIAN is employed by
                 CORPORATION, and that PHYSICIAN shall not bill or collect from any
                 patient or third party payor any amount for services rendered by
                 PHYSICIAN hereunder.              PHYSICIAN irrevocably assigns to
                 CORPORATION all of PHYSICIAN’s rights to receive payment for
                 podiatric medical and other professional services provided by PHYSICIAN
                 hereunder. PHYSICIAN agrees to execute any and all documents and take
                 any other actions deemed necessary or desirable by CORPORATION to
                 carry out the provisions of this Section.

     5.    PRODUCTIVITY-BASED COMPENSATION.

           a.    Beginning on the Effective Date, PHYSICIAN shall receive monthly
                 compensation equal to Forty Percent (40%) of all cash receipts received by
                 CORPORATION and attributed to professional services rendered by
                 PHYSICIAN to patients of CORPORATION at a clinic site owned and
                 operated by the CORPORATION. PHYSICIAN’s entitlement to receipts
                 will end as of the date 90 days after termination of this Agreement.

           b.    In addition, PHYSICIAN shall receive monthly compensation equal to Fifty
                 Percent (50%) of all cash receipts received by the CORPORATION and


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                 attributed to professional services rendered by PHYSICIAN to patients of
                 the CORPORATION in non-CORPORATION-owned alternative health
                 care settings, such as nursing homes, hospitals, hospital-based practice sites
                 and wound care centers. PHYSICIAN’s entitlement to receipts will end as
                 of the date 90 days after termination of this Agreement.

           c.    The foregoing compensation set forth in Sections a and b above shall be
                 paid on a monthly basis, on the 15th day of the month, based on cash
                 receipts received by the CORPORATION and attributed to professional
                 services rendered by PHYSICIAN in the preceding months.

           d.    Recognizing that accounts receivable for services generated in the first
                 ninety (90) days may not be converted to cash for up to three months, the
                 CORPORATION will provide the PHYSICIAN with a limited and
                 recoverable draw. PHYSICIAN shall receive a monthly draw of Six
                 Thousand Dollars ($6,000.00) only for the first consecutive six (6) months
                 commencing on the Effective Date. Beginning on July 1, 2023,
                 PHYSICIAN will not receive a draw. In the event payments to
                 PHYSICIAN calculated in accordance with Sections a and b above, and
                 attributed to professional services rendered by PHYSICIAN to patients of
                 the CORPORATION in any of the first six (6) months exceed Six Thousand
                 Dollars ($6,000.00), PHYSICIAN will be paid the difference. In the event
                 the PHYSICIAN earns less than Six Thousand Dollars ($6,000.00) based
                 on the formula set forth in Sections A and B above, the negative balance
                 will be carried forward through the completion of the six (6) month draw
                 period. At the conclusion of the six (6) month draw period, the total amount
                 of the draws ($36,000.00) will be reconciled against PHYSICIAN’s share
                 of the productivity-based compensation set forth in Sections a and b above.
                 To the extent the draws exceed the productivity-based compensation
                 amount, that amount will be ascertained and subject to the retention bonus
                 provisions of Section e below.

           e.    In the event any amount of the draw payable over the first six (6) months
                 exceeds the productivity formulae set forth in Sections a and b above, and
                 provided the PHYSICIAN remains employed through the conclusion of the
                 first year, the negative balance shall be forgiven as a retention bonus. In the
                 event this Agreement is terminated prior to the conclusion of the first year
                 for any reason other than a termination without cause by the
                 CORPORATION, PHYSICIAN shall owe and shall repay within thirty (30)
                 days of termination the amount of the negative balance.

           f.    CORPORATION agrees to reimburse fifty percent (50%) of PHYSICIAN’s
                 health insurance premiums actually paid by PHYSICIAN for a mutually-
                 agreed-on health insurance plan. At CORPORATION’s request,
                 PHYSICIAN shall provide copies of receipts showing PHYSICIAN’s
                 payment of insurance premiums for which reimbursement is sought. This
                 benefit shall be re-evaluated on an annual basis. In the event

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                       CORPORATION chooses to terminate this benefit, CORPORATION shall
                       give thirty (30) days’ notice of the termination prior to the commencement
                       of the calendar year.

               g.      CORPORATION agrees to provide the PHYSICIAN with a Continuing
                       Medical Education allowance comparable to the reasonable costs of
                       attendance at meetings or courses agreed in advance by CORPORATION
                       and the PHYSICIAN not to exceed Five Hundred and 00/100 Dollars
                       ($500.00) per year. Company shall pay all fees relating to professional
                       licenses, hospital and surgery center dues/registrations, professional
                       society memberships, and Boards Maintenance.

               h.      All compensation shall be subject to normal withholding for federal and
                       state income taxes, and contributions for FICA and other required
                       contributions and deductions.

        6.      VACATION. During each calendar year of employment, the PHYSICIAN shall
be eligible to earn up to thirty (30) days of paid time off. The annual accrual of paid time off will
be earned ratably over the course of each calendar year, and in the event of a termination occurring
during any calendar year, PHYSICIAN shall receive as part of final compensation only the
prorated portion of earned but untaken vacation time. If PHYSICIAN does not use all of his
vacation time in any calendar year, he will be allowed to carry forward into the subsequent year
up to a maximum of five (5) days of earned, but unused vacation time. All other time not used may
not be carried over to the next year and will be lost. In the event the PHYSICIAN wishes to take
a paid vacation, but has not yet earned sufficient time for the length of vacation, the PHYSICIAN
shall execute an Advance Vacation Repayment Agreement, which is set forth as Exhibit 1 to this
Agreement. As PHYSICIAN is paid on a productivity basis, for purposes of computing the value
of earned but untaken vacation time at the time of termination, CORPORATION shall compute
the average daily compensation received by PHYSICIAN over the twelve (12) months preceding
the termination date based on the productivity formula set forth above in this Section 5. If
PHYSICIAN has been employed for less than a year, CORPORATION shall compute the average
daily compensation received by PHYSICIAN since the commencement of employment based on
the productivity formula set forth above in this Section 5. The average daily compensation shall
be used to pay out the any earned but untaken vacation time.

        7.     INSURANCE. During the Term, CORPORATION shall maintain, at
CORPORATION’s expense, such professional liability insurance coverage as CORPORATION
shall deem appropriate, in minimum amounts of One Million Dollars ($1,000,000.00) per
occurrence, and Three Million Dollars ($3,000,000.00) in the aggregate of all claims, covering the
acts or omissions of PHYSICIAN in the normal course of PHYSICIAN’s employment through
commercial policies from an insurance company authorized to do business in the State of Illinois
(“Insurance Coverage”). If CORPORATION is providing Insurance Coverage for PHYSICIAN
on a claims made basis, and in the event this Agreement is terminated without cause by
PHYSICIAN, or terminated by CORPORATION for cause attributable to PHYSICIAN, then
PHYSICIAN is responsible for obtaining and paying for the cost of an unlimited reporting
endorsement (also known as “tail coverage”) with coverage limits equal to the limits described
above, or an unlimited prior acts reporting endorsement under a professional liability insurance

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policy that continues after the termination of this Agreement (“Continued Coverage”), as
hereinafter provided and defined below. If the CORPORATION terminates this Agreement
without cause attributable to the PHYSICIAN, then the CORPORATION shall be responsible for
obtaining and paying for the cost of an unlimited reporting endorsement. Any unlimited reporting
endorsement obtained and paid for either by PHYSICIAN or the CORPORATION shall be from
an “A” Rated Insurance Company licensed in Illinois, effective from and after the date of
expiration or termination, in a minimum amount equal to the amount then provided for
PHYSICIAN by CORPORATION, protecting CORPORATION and PHYSICIAN from
professional liability related to any activity or act that may have occurred during PHYSICIAN’s
employment with CORPORATION. PHYSICIAN may obtain Continued Coverage through
PHYSICIAN’s procurement of subsequent policies which provide for a retroactive date of
coverage equal to the retroactive date of the insurance policy in effect as of the Effective Date of
this Agreement,.

       8.     SHAREHOLDER STATUS. CORPORATION, at its sole discretion, may
consider PHYSICIAN for shareholder status at the end of two (2) years from the Effective Date of
this Agreement. .

       9.      TERM AND TERMINATION.

               a.      This Agreement shall commence on the Effective Date and shall continue
                       for a period of two (2) years (the “Initial Term”), subject to earlier
                       termination as provided herein. This Agreement shall automatically renew
                       for additional one (1) year periods (each a “Renewal Term”) unless either
                       party otherwise notifies the other party in writing sixty (60) days before
                       expiration of the Initial Term or Renewal Term, subject to earlier
                       termination as provided herein. Collectively, the Initial Term and any
                       Renewal Terms are the “Term.” After initial term, Agreement to
                       INCREASE from 40% to 45% paid on gross collections in office based
                       practice settings, and 50% to 60% in non-CORPORATION operated
                       sites.

               b.      Notwithstanding anything herein to the contrary, CORPORATION may
                       terminate this Agreement upon notice to PHYSICIAN stating the effective
                       date of termination if any one (1) or more of the following events occur: (i)
                       PHYSICIAN fails to obtain or maintain unrestricted membership on the
                       Medical Staffs of and/or unrestricted admitting and clinical privileges at the
                       Hospitals for which Physician is required to maintain privileges pursuant to
                       this Agreement; (ii) PHYSICIAN fails to maintain an unrestricted license
                       to practice podiatric medicine in the State of Illinois or the State of Missouri;
                       (iii) PHYSICIAN fails to maintain all customary narcotics and controlled
                       substances numbers and licenses as required by federal, state, or local laws
                       and regulations; (iv) PHYSICIAN is suspended or excluded from any
                       federal or state health care reimbursement program, or is sanctioned by any
                       such program; (v) PHYSICIAN is debarred or suspended from federal
                       procurement and non-procurement programs by the federal government;
                       (vi) PHYSICIAN is suspended, terminated or excluded from any

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                 commercial reimbursement program (a “Health Plan”) for reasons relating
                 to the quality of care rendered by PHYSICIAN; provided, however, that if
                 PHYSICIAN appeals, or requests a hearing with respect to, the Health
                 Plan’s decision to suspend, terminate or exclude PHYSICIAN from
                 participation pursuant to the Health Plan’s appeal or hearing processes then
                 PHYSICIAN shall not be deemed to have been suspended, terminated or
                 excluded until after the Health Plan has made a final decision with respect
                 to such suspension, termination or exclusion as a result of such appeal or
                 hearing; (vii) PHYSICIAN commits an act of grave misconduct, gross
                 incompetence or gross misfeasance or commits a material violation of the
                 professional canons of ethics; (viii) PHYSICIAN is convicted of, or pleads
                 guilty to, a felony or a crime involving fraud or moral turpitude; (ix)
                 PHYSICIAN ceases to be engaged in the practice of medicine on a full-time
                 and exclusive basis on behalf of CORPORATION; (x) PHYSICIAN
                 engages in any conduct that is unethical, unprofessional, jeopardizes or
                 threatens to jeopardize the health or safety of patients or is disruptive to the
                 operation or interests of CORPORATION or the Office; (xi) PHYSICIAN
                 fails to provide care that meets applicable community standards of
                 appropriate podiatric medical practice; (xii) PHYSICIAN is verbally
                 abusive or otherwise interferes with a harmonious work environment.

           c.    Either party may terminate this Agreement immediately upon notice if the
                 other party, by act or failure to act, is in breach of a material term or
                 condition of this Agreement, and fails to cure such breach on or before the
                 expiration of a thirty (30) day written notice and cure period (the “Cure
                 Period”); provided, however, CORPORATION shall have the right to
                 immediately terminate this Agreement upon the occurrence of any of the
                 events set forth in Section 9(b) above. Notwithstanding the foregoing, if the
                 breach is cured within the Cure Period but the breaching party commits the
                 same or a substantially similar breach within a six (6) month period
                 following the expiration of the Cure Period, then the non-breaching party
                 may immediately terminate this Agreement without any further Cure Period
                 being afforded.

           d.    This Agreement shall automatically terminate if PHYSICIAN dies or,
                 subject to compliance with the Americans with Disabilities Act and the
                 family and Medical Leave Act (to the extent applicable), is unable to
                 perform his duties hereunder for one hundred twenty (120) continuous days
                 due to a disability. The Company shall have the right to terminate the
                 Employee’s employment pursuant to this Agreement immediately if the
                 Employee becomes permanently and totally disabled or incapacitated
                 within the meaning of §475.010 R.S.Mo.

           e.    Upon any termination and effective 90 days after the termination date, any
                 receivables attributable to services PHYSICIAN provided, or future
                 account receivables for unbilled services performed by PHYSICIAN shall
                 be the property of the CORPORATION.

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         10.     INDEMNIFICATION. PHYSICIAN shall indemnify, defend and hold harmless
CORPORATION, its successors and assigns from and against any and all losses, claims, damages,
liabilities and expenses (including reasonable attorneys’ fees) (the “Losses”) sustained or incurred
by CORPORATION as a result of PHYSICIAN’s acts or omissions where PHYSICIAN did not
act in good faith or where PHYSICIAN is adjudged to be liable for negligence or recklessness or
intentional misconduct in the performance of PHYSICIAN’s duties under this Agreement;
provided, however, that to the extent that CORPORATION is compensated or reimbursed for any
such Losses from insurance purchased by CORPORATION or the PHYSICIAN, PHYSICIAN
shall not be required to reimburse CORPORATION for such Losses, i.e., CORPORATION cannot
recover twice.

         11.     AUTHORIZATION FOR RELEASE OF INFORMATION. PHYSICIAN
expressly authorizes any third party, including, but not limited to, any hospital, health care
provider, managed care company, individual person, government agency, corporation or other
legal person (collectively “Institution(s)”), to notify CORPORATION of any final action adversely
affecting PHYSICIAN’s staff or clinical privileges at, or participating or certified provider status
with, any such Institutions. PHYSICIAN expressly releases and holds CORPORATION and any
Institution (and the respective officers, directors, PHYSICIANs and agents of CORPORATION
or any such Institution) providing information to CORPORATION or receiving or acting upon
information received pursuant to this Section 11, harmless from any liability arising from such
disclosures, provided that such disclosures are truthful and made in good faith. This authorization
shall commence on the Effective Date, and shall continue until the expiration or termination of
this Agreement for any reason; provided, however, that the release of liability set forth herein shall
survive the expiration or termination of this Agreement for any reason, and communications made
after the date of expiration or termination regarding matters which occurred prior to such expiration
or termination shall be considered within the scope of this authorization.

        12.     NONCOMPETITION. For and in consideration for employment, PHYSICIAN
further agrees as follows:

               a.      For a period of one (1) year after the termination of this Agreement for any
                       reason, PHYSICIAN shall not, directly or indirectly, individually or as an
                       officer, director, shareholder, employee, consultant or agent of any
                       corporation, partnership or firm, association, or other corporation engage in
                       podiatric medical practice or provide such medical services at any location
                       within a eight (8) mile radius of any Hospital or Office at which
                       PHYSICIAN provided services on behalf of CORPORATION, where
                       PHYSICIAN provided at least 100 hours of service over the 12 months prior
                       to termination, nor during the Term and for a period one (1) year after
                       expiration or termination, may PHYSICIAN enter into either an
                       employment relationship or independent contractor relationship to provide
                       podiatric medical services, including administrative services for any
                       hospital or health care system at a site within eight (8) miles of any Hospital
                       or Office at which PHYSICIAN provided services on behalf of
                       CORPORATION, where PHYSICIAN provided at least 100 hours of
                       service over the 12 months prior to termination.


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           b.    For a period of one (1) year after the termination of this Agreement for any
                 reason, PHYSICIAN shall not, directly or indirectly, individually or as an
                 officer, director, shareholder, employer, consultant or agent of any
                 corporation, partnership or firm, association, or other corporation, provide
                 podiatric medical services to any patient of Corporation or solicit any such
                 patient to provide such services, or solicit or induce such patients to limit or
                 terminate their professional relationship with CORPORATION. For
                 purposes of this sub-section (b), a patient of the CORPORATION shall be
                 defined as any patient seen by PHYSICIAN during his employment, or any
                 patient to whom services were provided at any time prior to the termination
                 of this Agreement.

           c.    PHYSICIAN shall not, directly or indirectly, in any manner, disclose or
                 divulge to any third party, or use for his/her own benefit or for the benefit
                 of any third person, confidential information of CORPORATION,
                 including, but not limited to, CORPORATION’s confidential methods of
                 operation, pricing policies, marketing strategies, trade secrets, knowledge,
                 techniques, data and other information about CORPORATION’s operations
                 and business of a confidential nature (collectively, the “Confidential
                 Information”), unless CORPORATION consents in writing to the
                 disclosure or use, or unless PHYSICIAN is under a clear duty to make such
                 disclosure or use and CORPORATION informs PHYSICIAN of such duty
                 prior to any disclosure or use.

           d.    PHYSICIAN acknowledges that the restrictions set forth this Sections
                 12(a), (b), and are reasonable in scope and essential to CORPORATION’s
                 legitimate business interests and that the enforcement thereof will not in any
                 manner preclude PHYSICIAN from becoming gainfully employed in such
                 manner and to such extent as to provide a standard of living for
                 PHYSICIAN, the members of PHYSICIAN’s family, and those dependent
                 upon PHYSICIAN of at least the sort and fashion to which PHYSICIAN
                 and they have become accustomed and may expect.

           e.    PHYSICIAN further acknowledges that a breach of the covenants contained
                 in this Section 12 will have an irreparable, material and adverse effect upon
                 CORPORATION and that damages arising from any such breach may be
                 difficult to ascertain. Without limiting any other remedy at law or equity
                 available CORPORATION, in the event of a breach of the covenants
                 contained in this Section 12, CORPORATION shall each have the right,
                 without the requirement of a bond, to an immediate injunction enjoining
                 PHYSICIAN’s breach of the covenants contained in this Section 12. In the
                 event that any litigation or judicial proceeding is necessary to enforce the
                 provisions of this Section 12, and CORPORATION is the prevailing party
                 in such a proceeding, then CORPORATION shall have the right to receive
                 from PHYSICIAN its attorneys’ fees, costs and expenses. In the event a
                 court of competent jurisdiction determines that the foregoing non-compete,
                 non-solicitation or trade secret provisions are unreasonable in either

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                 geographic scope, time or both, the provisions will not fail, but rather will
                 be subject to amendment which shall be judicially determined. Every right
                 and remedy of CORPORATION shall be cumulative and CORPORATION,
                 in its sole discretion, may exercise any and all rights or remedies stated in
                 this Agreement or otherwise available at law or in equity.

           f.    PHYSICIAN represents and acknowledges that CORPORATION has
                 advised PHYSICIAN to consult with an independent attorney before
                 entering into the non-compete and non-solicitation covenants contained in
                 this Agreement. PHYSICIAN represents and acknowledges that
                 PHYSICIAN had a reasonable and adequate opportunity to consult with
                 counsel of PHYSICIAN’s choice prior to signing this Agreement.
                 PHYSICIAN represents and acknowledges that he was provided a copy of
                 this Agreement at least fourteen (14) calendar days before the Effective
                 Date or with at least fourteen (14) calendar days to review it. PHYSICIAN
                 represents and acknowledges that CORPORATION has provided him with
                 adequate consideration for entering into the non-compete and non-
                 solicitation covenants that are included herein, including specifically the
                 cash consideration dedicated to this covenant. PHYSICIAN represents and
                 acknowledges that the scope of the non-compete and non-solicitation
                 covenants herein are no greater than is required for the legitimate business
                 protection of the CORPORATION; that the covenants do not and will not
                 impose an undue hardship on PHYSICIAN; and the covenants are not
                 injurious to the public.

           g.    This Agreement may be immediately terminated by PHYSICIAN, after
                 written notice and thirty (30) days’ opportunity for the CORPORATION to
                 cure, upon the occurrence or omission by the CORPORATION of any one
                 or more of the following: (i) CORPORATION’S failure to make an
                 uncontested material payment of compensation or benefits due
                 PHYSICIAN; (ii) the CORPORATION’S breach of the terms or provisions
                 of this Agreement; or (iii) CORPORATION’s dissolution or insolvency,
                 whether voluntary or involuntary.

     13.   MISCELLANEOUS.

           a.    This Agreement constitutes the entire agreement between CORPORATION
                 and PHYSICIAN and supersedes all prior proposals, negotiations,
                 representations, communications, writings and agreements between
                 CORPORATION and PHYSICIAN with respect to the subject matter
                 hereof, whether oral or written. This Agreement may only be amended or
                 modified by a subsequent written agreement between duly authorized
                 representatives of CORPORATION and PHYSICIAN. This Agreement
                 shall be binding on the parties, their successors, and permitted assigns.

           b.    This Agreement may be signed by the parties in two counterparts, both of
                 which shall be considered one and the same agreement, binding on the

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                    parties, notwithstanding that both parties are not signatories to the same
                    counterpart. All documents delivered by facsimile shall be binding as
                    though originals thereof had been delivered.

           c.       In the event that any sections, paragraphs, sentences, clauses or phrases of
                    this Agreement (individually, “Provision”) shall be found invalid, void
                    and/or unenforceable, for any reason, neither this Agreement generally nor
                    the remainder of this Agreement shall thereby be rendered invalid, void
                    and/or unenforceable, but instead each such Provision and (if necessary)
                    other Provisions hereof, shall be reformed by a court of competent
                    jurisdiction so as to effect, insofar as is practicable, the intention of the
                    parties as set forth in this Agreement, and this Agreement shall then be
                    enforced as so reformed. Notwithstanding the preceding sentence, if such
                    court is unable or unwilling to effect such reformation, the remainder of this
                    Agreement shall be construed and given effect as if such invalid, void and/or
                    unenforceable Provision(s) had not been a part hereof,

           d.       The failure of CORPORATION or PHYSICIAN to object to or take
                    affirmative action with respect to any conduct of the other which is in
                    violation of the provisions of this Agreement shall not be construed as a
                    waiver of that violation or of any future violations of the provisions of this
                    Agreement.

           e.       Any notices or other communications required or contemplated under the
                    provisions of this Agreement shall be in writing and delivered in person,
                    evidenced by a signed receipt, or mailed by certified mail, return receipt
                    requested, postage prepaid, to the addresses indicated below or to such other
                    persons or addresses as CORPORATION or PHYSICIAN may provide by
                    notice to the other. The date of the notice shall be the date of delivery if the
                    notice is personally delivered, or the date of mailing if the notice is mailed
                    by certified mail.

                If to CORPORATION:                       If to PHYSICIAN:

                1455 US Highway 61 Ste A                 4105 Endicott Court
                Festus, MO 63028                         Swansea, IL 62226


           f.       PHYSICIAN may neither assign his rights or obligations under this
                    Agreement nor otherwise subcontract for, or delegate, the performance of
                    his obligations under this Agreement to any other person or entity.
                    CORPORATION, without the prior consent of PHYSICIAN, may assign
                    CORPORATION rights and obligations under this Agreement to another
                    legal entity owned or controlled by, under common control or affiliated
                    with, CORPORATION or the successor in interest of CORPORATION,
                    whether through an Asset Purchase Agreement or Stock Purchase
                    Agreement.

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           g.    This Agreement shall be construed and enforced in accordance with the
                 substantive laws of the State of Missouri, without regard to conflict of laws’
                 provisions.

           h.    All parties to this Agreement shall comply with all applicable federal, state
                 and local laws and regulations regarding confidentiality of patient records,
                 including, but not limited to, the Health insurance Portability and
                 Accountability Act of 1996 (“HIPAA”) and the Privacy Standards (45
                 C.F.R. Parts 160 and 164), the Standards for Electronic Transactions (45
                 C.F.R.. Parts 160 and 162) and the Security Standards (45 C.F.R. Parts 160,
                 162 and 164) (collectively, the “Standards”) promulgated or to be
                 promulgated by the Secretary of Health and Human Services on and after
                 the applicable effective dates specified in the Standards, and shall not be
                 released, disclosed, or published to any party other than as required or
                 permitted under applicable laws. PHYSICIAN agrees to abide by the
                 obligations to protect CORPORATION’s confidential trade secrets
                 pursuant to R.S.Mo. Section 417.450, et seq.

           i.    PHYSICIAN represents and warrants to CORPORATION that
                 PHYSICIAN is not suspended or excluded from participation in any federal
                 health care programs, as defined under 42 U.S.C. § 1320a-7b(f), or any form
                 of state Medicaid program, and to PHYSICIAN’s knowledge, there are no
                 pending or threatened governmental investigations that may lead to such
                 suspension or exclusion. PHYSICIAN agrees to notify CORPORATION of
                 the commencement of any such suspension or exclusion or investigation
                 within three (3) days of PHYSICIAN’s first learning of it and
                 CORPORATION shall have the right to terminate this Agreement after 90
                 days of learning of any suspension or exclusion, or if in its sole discretion,
                 CORPORATION believes that such investigation may lead to an uncurable
                 suspension or exclusion, PHYSICIAN further represents and warrants that
                 by entering into this Agreement he is not knowingly in violation of any
                 restrictive covenant to which he may have been bound by any previous
                 employer or contracting entity.

           j.    The headings of Sections in this Agreement are for reference only and shall
                 not affect the meaning of this Agreement.

           k.    Nothing in this Agreement, whether express or implied, is intended to
                 confer any rights or remedies on any persons other than the parties to it and
                 their respective successors and permitted assigns, nor is anything in this
                 Agreement intended to relieve or discharge the obligation or liability of any
                 third persons to any party to this Agreement, or to give any third persons
                 any right of subrogation or action against any party to this Agreement.




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    IN WITNESS WHEREOF, the parties hereto have signed this EMPLOYMENT
AGREEMENT as of the date and year first above written.

DOUGLAS BASSO, DPM                     BEST FOOT FORWARD CORP.

                                       By:__________________________________
________________________________       Name: Franklin W. Harry, DPM
                                       Title: Founder & President




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                 ADVANCED VACATION REPAYMENT AGREEMENT

        I acknowledge I have not earned sufficient vacation time for BEST FOOT FORWARD
CORP. to continue my regular compensation during my requested time off. In consideration for
the agreement by BEST FOOT FORWARD CORP. to allow me to take time off, which is currently
scheduled to commence on          _, 2022, and terminate on         , 2022, and to continue my
regular compensation during that time, ___________ may deduct any unearned but taken vacation
compensation from my final compensation which is otherwise payable to me upon termination. I
acknowledge that this agreement is entered into freely by me in order to allow me to receive an
employment benefit to which I am not currently entitled. BEST FOOT FORWARD CORP. is
authorized to make the appropriate deduction upon my termination from employment without any
requirement for further approval from me, and this agreement is in accordance with Section
300.760 of the Regulations of the Illinois Department of Labor.


                                                   DOUGLAS BASSO, DPM

Date:_____________




                                           EXHIBIT 1
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